     Reset Form   Case 2:21-cr-00491-SB UNITED STATES
                                         Document     DISTRICT
                                                  2 Filed      COURT
                                                          10/19/21 Page 1 of 2 Page ID #:13 FILED                            CLERK, U.S. DISTRICT COURT
                                       CENTRAL DISTRICT OF CALIFORNIA
                                                                                                                               10/19/2021
                                                                 CASE SUMMARY
                                                                                                                           CENTRAL DISTRICT OF CALIFORNIA

                                                                                                                                    DM
                                                                                                                             BY: ___________________ DEPUTY
        Case Number       2:21-cr-00491-SB                                            Defendant Number 1
        U.S.A. v. Jeffrey Fortenberry                                                 Year of Birth 1960
         ✔   Indictment                      Information                 Investigative agency (FBI, DEA, etc.) FBI

NOTE: All items MUST be completed. If you do not know the answer or a question is not applicable to your case, enter "N/A."
OFFENSE/VENUE                                                                  PREVIOUSLY FILED COMPLAINT/CVB CITATION
a. Offense charged as a:                                                       A complaint/CVB citation was previously filed on: N/A
                                                                               Case Number:
     Class A Misdemeanor          Minor Offense        Petty Offense
                                                                               Assigned Judge:
     Class B Misdemeanor          Class C Misdemeanor      ✔   Felony
                                                                               Charging:
b. Date of Offense March 23, 2019 to July 18, 2019
                                                                               The complaint/CVB citation:
c. County in which first offense occurred
                                                                                      is still pending
Los Angeles                                                                               was dismissed on:
d. The crimes charged are alleged to have been committed in
   (CHECK ALL THAT APPLY):                                                     PREVIOUS COUNSEL
                                                                               Was defendant previously represented?             No               Yes
       ✔ Los Angeles                  Ventura
                                                                               IF YES, provide Name:
             Orange                        Santa Barbara
                                                                                       Phone Number:
             Riverside                     San Luis Obispo
                                                                               COMPLEX CASE
             San Bernardino                Other                               Are there 8 or more defendants in the Indictment/Information?
                                                                                        Yes*        ✔ No
Citation of Offense 18 USC 1001
                                                                               Will more than 12 days be required to present government's
                                                                               evidence in the case-in-chief?
                                                                                       Yes*          ✔ No
e. Division in which the MAJORITY of events, acts, or omissions
   giving rise to the crime or crimes charged occurred:                        *AN ORIGINAL AND 1 COPY (UNLESS ELECTRONICALLY FILED)
                                                                               OF THE NOTICE OF COMPLEX CASE MUST BE FILED AT THE
✔    Western (Los Angeles, San Luis Obispo, Santa Barbara, Ventura)            TIME THE INDICTMENT IS FILED IF EITHER "YES" BOX IS
                                                                               CHECKED.
     Eastern (Riverside and San Bernardino)         Southern (Orange)
                                                                               SUPERSEDING INDICTMENT/INFORMATION
RELATED CASE                                                                   IS THIS A NEW DEFENDANT?              Yes        No

Has an indictment or information involving this defendant and                  This is the N/A     superseding charge (i.e., 1st, 2nd).
the same transaction or series of transactions been previously                 The superseding case was previously filed on:
filed and dismissed before trial?
        ✔ No          Yes
                                                                               Case Number
        If "Yes," Case Number:
                                                                               The superseded case:
Pursuant to General Order 21-01, criminal cases may be related
if a previously filed indictment or information and the present                   is still pending before Judge/Magistrate Judge
case:
    a. arise out of the same conspiracy, common scheme,
       transaction, series of transactions or events; or                              was previously dismissed on

    b. involve one or more defendants in common, and would                     Are there 8 or more defendants in the superseding case?
       entail substantial duplication of labor in pretrial, trial or                    Yes*           No
       sentencing proceedings if heard by different judges.                    Will more than 12 days be required to present government's
                                                                               evidence in the case-in-chief?
Related case(s), if any (MUST MATCH NOTICE OF RELATED
                                                                                        Yes*            No
CASE):
                                                                               Was a Notice of Complex Case filed on the Indictment or
                                                                               Information?
                                                                                        Yes            No
                                                                               *AN ORIGINAL AND 1 COPY OF THE NOTICE OF COMPLEX CASE
                                                                               MUST BE FILED AT THE TIME THE SUPERSEDING INDICTMENT IS
                                                                               FILED IF EITHER "YES" BOX IS CHECKED.
CR-72 (03/21)                                                          CASE SUMMARY                                                                Page 1 of 2
                    Case 2:21-cr-00491-SB UNITED STATES
                                           Document     DISTRICT
                                                    2 Filed      COURT
                                                            10/19/21 Page 2 of 2 Page ID #:14
                                         CENTRAL DISTRICT OF CALIFORNIA
                                                             CASE SUMMARY

INTERPRETER                                                                 CUSTODY STATUS
Is an interpreter required?         YES      ✔   NO                           Defendant is not in custody:
IF YES, list language and/or dialect:                                         a. Date and time of arrest on complaint:
                                                                              b. Posted bond at complaint level on:
                                                                                   in the amount of $
OTHER                                                                                                                No
                                                                              c. PSA supervision?          Yes
 ✔   Male               Female                                                d. Is on bail or release from another district:
 ✔   U.S. Citizen       Alien
Alias Name(s)                                                                 Defendant is in custody:
                                                                              a. Place of incarceration:         State        Federal
This defendant is charged in:                                                 b. Name of Institution:
     ✔ All counts                                                             c. If Federal, U.S. Marshals Service Registration Number:
         Only counts:
                                                                              d.      Solely on this charge. Date and time of arrest:
     This defendant is designated as "High Risk" per
     18 USC § 3146(a)(2) by the U.S. Attorney.                                e. On another conviction:             Yes                 No
     This defendant is designated as "Special Case" per
                                                                                    IF YES :     State              Federal             Writ of Issue
     18 USC § 3166(b)(7).
                                          Yes     ✔   No                      f. Awaiting trial on other charges:         Yes           No
Is defendant a juvenile?
IF YES, should matter be sealed?          Yes     ✔   No                            IF YES :     State       Federal      AND
                                                                                   Name of Court:
The area(s) of substantive law that will be involved in this case
                                                                                   Date transferred to federal custody:
include(s):
    financial institution fraud       ✔ public corruption                     This person/proceeding is transferred from another district
                                                                              pursuant to F.R.Cr.P.         20             21             40
 ✔   government fraud                      tax offenses
     environmental issues                  mail/wire fraud
     narcotics offenses                    immigration offenses
     violent crimes/firearms               corporate fraud
     Other




EXCLUDABLE TIME

Determinations as to excludable time prior to filing indictment/information. EXPLAIN:




            Date      10/15/2021
                                                                            Signature of Assistant U.S. Attorney
                                                                            Susan Har
                                                                            Print Name
CR-72 (03/21)                                                       CASE SUMMARY                                                             Page 2 of 2
